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  NS :md
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.      18-80160-CR-WPD


  UNITED STATES OF AMERICA,

  V.

  RAUL GORRIN BELISARIO,

            Defendant.
  - - - - - - - - - - --               I

                                   RELEASE OF LIS PENDENS

  GRANTEE(S): Eric Francois Somnolet

  TO:      ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER ANY OF THE
           DEFENDANT(S) AND/OR GRANTEE(S) any interest in the real property described
           herein.

           NOTICE IS HEREBY GIVEN, that a Notice of Lis Pendens regarding real property

  located at 330 E. 57th Street, Apt. 9, New York, New York 10022, filed in proceedings before this

  Court, ECF No. 10, and recorded in N.Y. County, on November 20, 2018, giving notice of the

  pendency of a criminal action in the U.S. District Court for the Southern District of Florida entitled

  United States of America v. Raul Corrin Belisario, Case No. 18-20160-CR-WPD, is hereby

  released and discharged.

           The real property, including all buildings, improvements, fixtures, attachments and
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         easements found therein or thereon, is more particularly described as:

         LOT 16, BLOCK 10, FIRST ADDITION TO BOULEY ARD HEIGHTS
         SECTION SIXTEEN, ACCORDING TO THE PLAT THEREOF, AS
         RECORDED IN PLAT BOOK 66, AT PAGE 16, OF THE PUBLIC
         RECORDS OF BROWARD COUNTY, FLORIDA.

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

                                              By:     sl Halina Sombuntham      t£4
                                                      Nalina Sombuntham 7
                                                      Assistant United States Attorney
                                                      Fla. Bar No. 96139
                                                      99 N.E. 4th Street, 7th Floor
                                                      Miami, Florida 3313 2-2111
                                                      Telephone: (305) 961-9224
                                                      Facsimile: (305) 530-6166
                                                      nalina.sombuntham2@usdoj.gov



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February,\, 2019, I electronically filed the foregoing Release

  of Lis Pendens with.the Clerk of the Court using CM/ECF.

                                              s/Nalina Sombuntham
                                              Nalina Sombuntham
                                              Assistant United States Attorney




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